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          3K
          A
  EXHIBIT 2
          B
                             Case 5:21-cv-07385-VKD Document 50-4 Filed 01/31/22 Page 2 of 5

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 After 40+ years of reporting,          I   now understand the importance of limited government




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                                                                   1:38                                                                     5:09

      SITC Essay/Video Contest                                            Exposing Students to Free Markets
          894 · 13 comments    ·   11.5K views                                   4.1K · 160 comments     ·   40.3K views




                                                                   5:23                                                                     4:25

      Why Progressives Ruin Cities                                        Race-Based Admissions?
          16K · 1.4K comments       ·   354.1K views                          3.5K · 457 comments   ·   156K views




                                                                   5:50                                                                     6:12

      Saving Kids From Government Schools                                 Trans Women vs Women in Sports
             6.7K · 470 comments            ·   73K views                           1.3K · 357 comments       ·   516.9K views
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                                                         6:04                                                          4:50

Critical Race Theory in American Schools                        Florida’s Roadmap to Living with Covid
      1.5K · 395 comments            ·   127.4K views              16K · 1.4K comments   ·   238.9K views




                                                         3:12                                                          5:32

The Evil Rich?                                                  Silk Road Founder Jailed-- Drug Sales UP
   2.7K · 297 comments       ·   137.3K views                      4.3K · 394 comments   ·   112.4K views




                                                         5:42                                                          6:04

One Fix for Hollywood Bias                                      Critical Race Theory in American Schools
   15K · 1K comments     ·   2.9M views                                  4.8K · 631 comments       ·   127.4K views




                                                        33:49                                                          7:13

Mike Rowe on lockdowns, safety third,                           Fact-BLOCKERS
dignity of work and college loans.                                    2.5K · 224 comments     ·   308.4K views
      4K · 268 comments          ·   340.7K views




                                                         4:47                                                         10:12

China's Tech Totalitarianism                                    A Way FORWARD?
   3.5K · 294 comments       ·   1.7M views                        4.3K · 451 comments   ·   96.6K views
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                                                 5:16                                                          5:19

Toxic Victimhood                                        Public vs Private: Park Edition
   6.3K · 497 comments   ·   410.3K views                     2.7K · 86 comments       ·   371.7K views




                                                 7:17                                                         33:49

Private School Success Around the World                 Mike Rowe on lockdowns, safety third,
   9.9K · 513 comments   ·   160.7K views               dignity of work and college loans.
                                                              17K · 1.3K comments          ·   340.7K views




                                                 5:54                                                          5:41

Government-Run Schools Crush Innovation                 Liberty Winning?
   9.3K · 578 comments   ·   171.6K views                  2.5K · 160 comments   ·     310.7K views




                                                 4:53                                                         32:40

Abolish the FDA?                                        Rand Paul on Vaccine Mandates, Inflation,
      2.1K · 332 comments     ·   369.1K views          Socialism, and his fights with Fauci
                                                           14K · 1.1K comments     ·   225.2K views




                                                 6:12                                                          7:22

Trans Women vs Women in Sports                          Socialism Myths: Part 1
      1.9K · 583 comments     ·   516.9K views             3.3K · 390 comments   ·     2.8M views
                  Case 5:21-cv-07385-VKD Document 50-4 Filed 01/31/22 Page 5 of 5




                                                            4:56                                                     2:31

The Right To BEAR Arms                                             Happy Bill of Rights Day!
   3K · 242 comments   ·   795.7K views                                  3.7K · 184 comments     ·   287.7K views




                                                            4:53                                                     4:09

Abolish the FDA?                                                   Little Pink House
      16K · 2.1K comments           ·   369.1K views                     7.1K · 384 comments     ·   118.5K views




                                                            7:13                                                     5:18

Fact-BLOCKERS                                                      Paul vs Fauci
   5.9K · 457 comments     ·   308.4K views                           5.3K · 476 comments   ·   655.9K views




                                                            5:19                                                     7:22

Public vs Private: Park Edition                                    Socialism Myths: Part 1
      15K · 647 comments        ·   371.7K views                      14K · 1.8K comments   ·   2.8M views




                                                            4:27                                                    30:01

The Law Blocking Care for Special Needs                            Jordan Peterson: The FULL Interview
Kids                                                                     8.8K · 567 comments     ·   532.4K views
         1.5K · 135 comments             ·   105.6K views
